            Case 24-61741-jwc                          Doc 1 Filed 11/04/24 Entered 11/04/24 14:03:56                                       Desc
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                            District of
                                          (State)
 Case number (If known):                                        Chapter
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


                     24-61741
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name




 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer
    Identification Number (EIN)
                                               CI      2_ _              c:1) 1-‘ ki23

 4. Debtor's address                                Principal place of business                               Mailing address, if different from principal place
                                                                                                              of business

                                                                                  scO_                        Number      Street
                                                    Number      Street


                                                                                                              P.O. Box


                                                                                  State     ZIP Code          City                        State       ZIP Code

                                                                                                              Location of principal assets, if different from
                                                                                                              principal place of business
                                                             NNV4
                                                    County
                                                                                                              Number      Street




                                                                                                              City                        State       ZIP Code



  5. Debtor's website (URL)




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Debtor                  X                                                                         Case number vioxiimi
              -- Name


                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                          0 Partnership (excluding LLP)
                                          0 Other. Specify:

                                          A. Check one:
 7. Describe debtor's business
                                          0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          §i Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          D Railroad (as defined in 11 U.S.C. § 101(44))
                                          D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          0 None of the above

                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          CI Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.qov/four-diqit-national-association-naics-codes .



  a. Under which chapter of the           Check one:
     Bankruptcy Code is the
                                          Li Chapter 7
     debtor filing?
                                          U Chapter 9
                                              Chapter 11. Check all that apply
                                                               •   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                   4/01/25 and every 3 years after that).
                                                               D The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               OThe debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                 chooses to proceed under Subchapter V of Chapter 11.

                                                               Li A plan is being filed with this petition.

                                                               Li Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               •   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               U The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                          1:1 Chapter 12

  9. Were prior bankruptcy cases              No
     filed by or against the debtor
     within the last 8 years?             1% Yes. District                                   When    It 3                Case number
                                                                                                    MM! DD / YYYY
         If more than 2 cases, attach a
         separate list.                             District                                 When                        Case number
                                                                                                    MM! DD / YYYY


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Debtor                                                                                      Case number Of known)
              Name



 10. Are any bankruptcy cases               No
     pending or being filed by a
     business partner or an              Li Yes. Debtor                                                             Relationship
     affiliate of the debtor?                      District                                                         When
     List all cases. If more than 1,                                                                                               MM / DD      /YYYY
     attach a separate list.                       Case number, if known


     Why is the case filed in this       Check all that apply:
     district?
                                        riet.Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         U A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
                                           C4a,
 12. Does the debtor own or have      No
     possession of any real        JO Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                  Why does the property need immediate attention? (Check all that apply.)
     attention?
                                           O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                   O It needs to be physically secured or protected from the weather.

                                                   U It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                   D Other


                                                   Where is the property?
                                                                              Number         Street



                                                                              City                                                 State ZIP Code


                                                   Is the property insured?

                                                   Li No
                                                   tI Yes. Insurance agency
                                                              Contact name                            CD \:-Q...e•
                                                              Phone




              Statistical and administrative information



  13.Debtor's estimation of              Check one:
     available funds                     U Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         XI 1-49                             U 1,000-5,000                              D 25,001-50,000
  14.Estimated number of
                                         0 50-99                             Li 5,001-10,000                            LI 50,001-100,000
     creditors
                                         Li 100-199                          U 10,001-25,000                               More than 100,000
                                          0 200-999


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Debtor                                                                                           Case number (if known)
             Name



                                          LI $0-$50,000                      LI $1,000,001-$10 million                      •   $500,000,001-51 billion
 15. Estimated assets                                                        LI $10,000,001-$50 million
                                             $50,001-$100,000                                                               LI $1,000,000,001-$10 billion
                                          LI $100,001-$500,000               Li 550,000,001-5100 million                    LI $10,000,000,001-$50 billion
                                          LI $500,001-$1 million                 5100,000,001-5500 million                  O More than $50 billion


                                          LI $0-$50,000                      LI $1,000,001-$10 million                      •   $500,000,001-$1 billion
 is. Estimated liabilities
                                          LI $50,001-$100,000                   $10,000,001-$50 million                     LI $1,000,000,001-$10 billion
                                             $100,001-$500,000               LI $50,000,001-$100 million                    D $10,000,000,001-$50 billion
                                          LI $500,001-$1 million             LI $100,000,001-$500 million                   CI More than $50 billion




1111         Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor

                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on     \\ LA a...,LA
                                                             NAM ,DD /YYYY


                                              Signature of authorized representative of debtor               Printed name

                                              Title




  18. Signature of attorney
                                                                                                             Date
                                              Signature of attorney for debtor                                            MM      / DD /YYYY




                                              Printed name

                                              Firm name

                                              Number         Street

                                              City                                                                State            ZIP Code


                                              Contact phone                                                       Email address




                                              Bar number                                                          State




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                                              LIST OF CREDITORS
                                                                  Guidelines:
The debtor must provide and maintain a complete List of           • Creditor name and mailing address ONLY
Creditors reflecting names and addresses only of all              • Enter one creditor per box
                                                                  • Creditor's name must be on the first line
creditors. This list is used to mail notices to creditors. Lack
                                                                  • City, state and zip code must be on the last line
of proper notice may result in no discharge of a debt
                                                                  • No more than five lines of information per creditor
owed.                                                             • Do NOT include: account numbers, phone numbers or
                                                                  amounts owed


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 Case Number: 24-61741Name: BBCT Investments &HoldingsChapter:11 Division: Atlanta


Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.govIservices-forms/baniu-uptcy/filing-without-attorney.

    Individual - Series 100 Forms                                                        El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 0 Complete List of Creditors (names and addresses of all creditors)                     0 Last 4 digits of SSN
 0 Pro Se Affidavit (signature must be notarized,                                        O Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 Li Signed Statement of SSN                                                              CI Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                       Case tiled via:
El Schedules: A/B DE/FGHI                                                          El Intake Counter by:
I:81 Summary of Assets and Liabilities                                                 CI Attorney
21 Declaration About Debtor(s) Schedules                                               CI Debtor
CI Attorney Disclosure of Compensation                                                  El Other: Snowdrop Neeham 770-570-0569
CI Petition Preparer's Notice, Declaration and Signature (Form 119)                CI Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                          0 Attorney
O Chapter 13 Current Monthly Income                                                    CI Debtor
O Chapter 7 Current Monthly Income                                                     0 Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                              El Email [Pursuant to Amended and Restated General
CI Pay Advices (Individuals only) (2 Months)                                       Order 45-2021, this petition was received for filing via
O Chapter 13 Plan, complete with signatures (local form)                           email]
El Corporate Resolution (Non-Individual Ch. 7 & 11)                                              History of Case Association
                                                                                   Prior cases within 3 years: 24-54602/ 24-50031
MISSING DOCUMENTS DUE WITHIN 30 DAYS
CI Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Chapter 11                                                                         Acknowledgment of receipt of Deficiency Notice
El 20 Largest Unsecured Creditors
El List of Equity Security Holders
CI Small Business - Balance Sheet                                                   Intake Clerk:     kit            ID Verified IZ Date:1 1/4/24
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
CI Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      O Paid
       0 Pending Pay.Gov, Paid $
       ▪   IFP filed (Ch.7 Individuals Only)
       ▪   2g-Order Granting        LII 3g-Order Granting 10-day (initial payment of $                      due within 10 days)
       •   2d-Order Denying with filing fee of $                due within 10 days
       •   Order Regarding Unpaid Case Filing Fee. $1738
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
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                                      Georgia 30303
                                404-215-1000
